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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


 IN RE: CATTLE AND BEEF ANTITRUST
 LITIGATION                                         MDL No. 22-3031 (JRT/JFD)


 This Document Relates To:                       ORDER REGARDING DIRECT PURCHASER
                                                   PLAINTIFFS’ MOTION FOR INTERIM
 THE DIRECT PURCHASER PLAINTIFFS                  PAYMENT OF ATTORNEYS’ FEES AND
                                                           SERVICE AWARDS

      The above matter came before the Court on the Direct Purchaser Plaintiffs’

(“DPPs”) motion for interim payment of attorneys’ fees and service awards relating to the

DPPs’ settlement with Defendants JBS S.A. and JBS USA Food Company (collectively,

“JBS”). (Mot., Jan. 30, 2024, Docket No. 538.)

      The Court has received the memorandum submitted by the DPPs in support of

their unopposed motion and has reviewed the various declarations and submissions

relating to that motion. Based on the record and proceedings before the Court, IT IS

HEREBY ORDERED that:

      1. The DPPs’ motion for interim payment of attorneys’ fees and service awards

[Docket No. 538] is GRANTED.

      2. The Court has considered the relevant case law and authority and finds that

interim payment of attorneys’ fees to counsel for the DPPs is appropriate under Fed. R.

Civ. P. 23(h). Notice of the request for fees was provided to the potential class members
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via direct and published notice and a settlement website that included relevant

documents and pleadings.

         3. The Court has considered the reaction of the class members to this fee request.

         4. The Court will award interim fees to counsel for the DPPs using the percentage-

of-the-benefit approach. “A routine calculation of fees involves the common-fund

doctrine, which is based on a percentage of the common fund recovered.” In re Xcel

Energy, Inc., Sec., Derivative & “ERISA” Litig., 364 F. Supp. 2d 980, 991 (D. Minn. 2005)

(citing Blum v. Stenson, 465 U.S. 886, 900 n.16 (1984); In re U.S. Bancorp Litig., 291 F.3d

1035, 1038 (8th Cir. 2002)); Boeing Co. v. Van Gemert, 444 U.S. 472, 478 (1980) (“[A]

litigant or a lawyer who recovers a common fund for the benefit of persons other than

himself or his client is entitled to a reasonable attorney’s fee from the fund as a whole.”)

(citations omitted). “In the Eighth Circuit, use of a percentage method of awarding

attorney fees in a common-fund case is not only approved, but also ‘well established.’”

In re Xcel, 364 F. Supp. 2d at 991 (quoting Petrovic v. Amoco Oil Co., 200 F.3d 1140, 1157

(8th Cir. 1999)); see also Khoday v. Symantec Corp., No. 11-180, 2016 WL 1637039, at *8–

9 (D. Minn. Apr. 5, 2016), aff’d sub nom. Caligiuri v. Symantec Corp., 855 F.3d 860 (8th Cir.

2017).

         5. Counsel for the DPPs requests an interim fee award of one-third of the

settlement fund, including interest. The requested fee, which totals $17,500,000, plus

interest, is within the range allowed by courts in this District.


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       6. When using the percentage-of-the-benefit approach, the Court considers the

following factors: “(1) the benefit conferred on the class; (2) the risk to which plaintiffs’

counsel was exposed; (3) the difficulty and novelty of the legal and factual issues of the

case; (4) the skill of the lawyers, both plaintiffs’ and defendants’; (5) the time and labor

involved; (6) the reaction of the class; and (7) the comparison between the requested

attorney fee percentage and percentages awarded in similar cases.” Khoday, 2016 WL

1637039, at *9 (quoting Yarrington v. Solvay Pharms., Inc., 697 F. Supp. 2d 1057, 1062 (D.

Minn. 2010)); see also In re Xcel, 364 F. Supp. 2d at 993. When applied here, these factors

indicate that the fee requested is fair and reasonable.

       7. Counsel Secured Substantial Benefits for DPPS. This $52,500,000 settlement is

coupled with meaningful cooperation from JBS that will assist in the prosecution of the

claims against the non-settling Defendants and provides DPPs with significant value. See,

e.g., In re Packaged Ice Antitrust Litig., No. 08-01952, 2010 WL 3070161, at *6 (E.D. Mich.

Aug. 2, 2010); In re Pressure Sensitive Labelstock Antitrust Litig., 584 F. Supp. 2d 697, 702

(M.D. Pa. 2008). Fee awards in antitrust actions also provide for a public benefit. There

is a “need in making fee awards to encourage attorneys to bring class actions to vindicate

public policy (e.g., the antitrust laws) as well as the specific rights of private individuals.”

In re Folding Carton Antitrust Litig., 84 F.R.D. 245, 260 (N.D. Ill. 1979); see also In re

Cardizem CD, 218 F.R.D. 508, 534 (E.D. Mich. 2003) (“Society also benefits from the

prosecution and settlement of private antitrust litigation.”). Society benefits when those


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who have violated laws fostering fair competition and honest pricing are required to

reimburse affected consumers in civil proceedings. See Vendo Co. v. Lektro-Vend Corp.,

433 U.S. 623, 635 (1977); Wal-Mart Stores, Inc. v. Visa U.S.A., Inc., 396 F.3d 96, 122 (2d

Cir. 2005) (“[I]t is especially important to provide appropriate incentives to attorneys

pursuing antitrust actions because public policy relies on private sector enforcement of

the antitrust laws.”).

       8. Counsel Was Exposed to Risk. Antitrust class actions are inherently risky, due

in part to their unpredictable nature, as well as the tremendous time and expense

required to obtain a successful resolution. In re Cathode Ray Tube (CRT) Antitrust Litig.,

No. 1917, 2016 WL 721680, at *17 (N.D. Cal. Jan. 28, 2016); see In re Cardizem CD, 218

F.R.D. at 530 (emphasizing a strong public interest in encouraging settlement of complex,

class-action lawsuits because they are unpredictable and settlement preserves judicial

resources). In the face of these risks, Class Counsel represented DPPs and obtained a

substantial recovery on behalf of the Class thus far.

       9. The Difficulty and Novelty of the Legal and Factual Issues. Antitrust class

actions are inherently complex. In re Linerboard Antitrust Litig., 292 F. Supp. 2d 631, 639

(E.D. Pa. 2003) (“An antitrust class action is arguably the most complex action to

prosecute. The legal and factual issues involved are always numerous and uncertain in

outcome.” (citations and internal quotation marks omitted)). This litigation presents

challenging legal and factual issues, and this factor also supports the fee requested.


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       10. Skill and Expertise of Counsel. Both Class Counsel for the DPPs and counsel

for JBS are experienced and skilled antitrust counsel. This factor also supports the

requested fee. See, e.g., In re Schering-Plough Corp. Enhance Secs. Litig., No. 08- 2177,

2013 WL 5505744, at *25 (D.N.J. Oct. 1, 2013); In re Avandia Mktg., Sales Practices and

Prods. Liab. Litig., No. 1871, 2012 WL 6923367, at *5 (E.D. Pa. Oct. 19, 2012) (considering

“the performance and quality of opposing counsel” as a factor in awarding attorneys’

fees); In re Ins. Brokerage Antitrust Litig., 282 F.R.D. 92, 121 (D.N.J. 2012) (concluding the

skill and efficiency of the attorneys involved favored approval of attorneys’ fees in part

because the settling defendants were represented by experienced attorneys from

prominent law firms); In re WorldCom, Inc. Sec. Litig., 388 F. Supp. 2d 319, 357–58

(S.D.N.Y. 2005) (finding that counsel “obtained remarkable settlements for the Class while

facing formidable opposing counsel from some of the best defense firms in the country.”).

       11. Time and Labor Involved. Class Counsel working on behalf of the DPPs

invested thousands of hours to achieve this settlement. The litigation has already lasted

more than three years and has and will require significant time and labor.

       12. The Reaction of the Class. No class member has objected to the request for

awards of fees or expenses.

       13. Comparison with Percentages Awarded in Similar Cases. A fee award of one-

third of the settlement fund is a generally accepted percentage in the Eighth Circuit.

Indeed, this Court and others in this District routinely approve attorneys’ fees in class


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actions of at least one-third of the common fund created for the settlement class. See

Khoday, 2016 WL 1637039, at *11; Yarrington, 697 F. Supp. 2d at 1064 (noting that

awards between 25 and 36 percent of a common fund are common); In re Xcel, 364 F.

Supp. 2d at 998 (collecting cases routinely approving fee awards of 33 percent); Carlson

v. C.H. Robinson Worldwide, Inc., No. 02-3780, 2006 WL 2671105, at *8 (D. Minn. Sept.

18, 2006) (approving a fee award representing 35 1/2 percent of the settlement fund).

       14. The Court has carefully analyzed the settlement and the factors considered by

courts within the Eighth Circuit and Rule 32 and concludes that the factors are met and

justify an interim fee award to counsel for the DPPs. The $52,500,000 settlement provides

substantial cash and non-monetary benefits including cooperation from JBS. Counsel has

worked on a contingent basis and the results of this litigation have never been certain.

The legal and factual issues are complicated, and the parties have zealously asserted their

claims and defenses. Given the length and tenacity of this litigation, the Court is satisfied

that the settlement was the result of arms’ length negotiations between informed and

experienced counsel. The requested fee of $17,500,000, plus interest, which totals one-

third of the total settlement, is within the range allowed by courts in this District.

       15. Although not required, courts may apply a lodestar “cross-check” on the

reasonableness of the fee calculated as a percentage of the fund. Keil v. Lopez, 862 F.3d

685, 701 (8th Cir. 2017). A cross-check of the lodestar incurred by Class Counsel for the

DPPs indicates that the fee requested constitutes fair and reasonable compensation for


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the risks assumed, the work done, and the benefits achieved for the members of the

settlement class. The lodestar currently totals $13,555,094.50 when using Class Counsel’s

historic rates.

       16. Using the lodestar cross-check methodology and reviewing the total fees

awarded with the lodestar generated on these cases from the inception of the litigation

to December 31, 2022, the request fee results in a lodestar multiplier of 1.38, which is

well within the accepted ranges awarded in similar contingent fee cases. This multiplier

is especially reasonable considering the complexity of this litigation, the result achieved

for the class members, the risks assumed by counsel for the DPPs and the work remaining

to be done on the case and for which fees may or may not be available. See, e.g., Khoday,

2016 WL 1637039, at *11 (multipliers typically range between two and five).

       17. The Court GRANTS an interim award of attorneys’ fees to Class Counsel for the

DPPs in the amount of $17,500,000, plus interest. These attorneys’ fees shall be paid

from the settlement fund.

       18. Interim Co-Lead Counsel for the DPPs are authorized to allocate that attorneys’

fees awarded herein among Class Counsel who performed work on behalf of the DPPs in

accordance with Interim Co-Lead Counsel’s assessment of each firm’s contribution to the

prosecution of this litigation.

       19. The Court also GRANTS the requested $15,000 in service awards to each of the

three named DPP Class Representatives, totaling $45,000. Courts in this circuit regularly


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see fit to compensate class representatives for their service to the class. See Khoday,

2016 WL 1637039, at *12; Yarrington, 697 F. Supp. 2d at 1068; Zillhaver v. UnitedHealth

Group, Inc., 646 F. Supp. 2d 1075, 1085 (D. Minn. 2009).

       20. The representative plaintiffs took action to benefit the interest of the DPPs,

devoted their own time and effort, and have assisted Class Counsel in achieving the

settlement with JBS. Zillhaver, 646 F. Supp. 2d at 1085 (quoting Koenig v. U.S. Bank, 291

F.3d 1035, 1038 (8th Cir. 2002)). They have exposed themselves to a substantial business

risk by filing this lawsuit against the producers of beef who are or were key suppliers for

their businesses. Throughout this litigation, the Class Representatives advised Class

Counsel and approved pleadings, reviewed and responded to written discovery, searched

for, gathered, preserved, and produced documents, are preparing for and will sit for

depositions, have kept up to date on the progress of the case, and performed other similar

activities. Further, the named DPPs have or had a direct business relationship with the

Defendants and have exposed themselves to a substantial business risk by filing this

lawsuit against the producers of beef who are key suppliers for their businesses. The

requested $15,000 for each of the three named DPPs is reasonable and deserved.




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      21. Interim Co-Lead Counsel for the DPPs are authorized to pay from the

settlement fund $15,000 for each of the three named DPPs ($45,000 total).




DATED: June 11, 2024
at Minneapolis, Minnesota.                             JOHN R. TUNHEIM
                                                   United States District Judge




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